Case 2:16-cv-11882-GCS-EAS ECF No. 35 filed 03/20/19                  PageID.1013     Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




 Nikita T Smith, et al.,

                                   Plaintiff(s),
 v.                                                    Case No. 2:16−cv−11882−GCS−EAS
                                                       Hon. George Caram Steeh
 Detroit, City of, et al.,

                                   Defendant(s),



             ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

    IT IS ORDERED that this matter is referred to U.S. Magistrate Judge R. Steven Whalen
 pursuant to 28 U.S.C. § 636(b)(3), for the following purpose(s):

       • Conduct settlement conference




                                                   s/George Caram Steeh
                                                   George Caram Steeh
                                                   United States District Judge



                                      Certificate of Service

    I hereby certify that on this date a copy of the foregoing notice was served upon the parties
 and/or counsel of record herein by electronic means or first class U.S. mail.



                                                   s/M. Beauchemin
                                                   Case Manager

 Dated: March 20, 2019
